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                           UNITED STATES DISTRICT COURT
                            DISTRICT OF MASSACHUSETTS


                                  )
KAREN READ,                       )
                                  )
         Petitioner,              )
                                  )                        Civil Action No.
    v.                            )                        25-cv-10399-FDS
                                  )
NORFOLK COUNTY SUPERIOR COURT and )
MASSACHUSETTS ATTORNEY GENERAL, )
                                  )
          Respondents.            )
                                  )


                                NOTICE OF APPEARANCE


       Please enter my appearance as counsel of record for Norfolk County Superior Court,

a respondent in the above-captioned matter.

                                                  Respectfully submitted,


                                                  /s/ Caleb J. Schillinger
                                                  Caleb J. Schillinger
                                                  Special Assistant Attorney General
                                                  (BBO# 676592)
                                                  Assistant Norfolk District Attorney
                                                  45 Shawmut Road
                                                  Canton, MA 02021
                                                  (781) 830-4800
Dated: February 26, 2025
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                                 CERTIFICATE OF SERVICE

        I hereby certify that this document was filed through the ECF system on February 26,
2025, and will be sent electronically to the registered participants as identified on the Notice of
Electronic Filing (NEF), including Martin G. Weinberg, Esq., and Michael Pabian, Esq., counsel
for the petitioner in this matter. There are no non-registered participants involved in this case.


                                                     /s/ Caleb J. Schillinger
                                                     Caleb J. Schillinger
                                                     Special Assistant Attorney General




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